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                                        UNITED STATES DISTRICT COURT
                                           DISTRICT OF NEW JERSEY

  UNITED STATES OF AMERICA                Hon. Katharine S. Hayden
             v.                            Criminal No. 09-cr-086
  MICHAEL C. DANIELS                      ORDER FOR DISMISSAL


             Pursuant to Rule 48(a) of the Federal Rules of Criminal

  Procedure and by leave of Court endorsed hereon, Paul J. Fishman,

  the United States Attorney for the District of New Jersey, hereby
  dismisses Counts One and Three of the Indictment, Criminal No.

  09-086, against defendant Michael C. Daniels charging the

  defendant with knowingly and intentionally conspiring and

  distributing and possessing with intent to distribute a quantity

  of heroin, in violation of Title 21, United States Code, Sections
  841(a) and 846, because further prosecution is not in the

  interests of the United States at this time.

             This dismissal is without prejudice.


                                    ~IUf~
                                    United States Attorney



            Leave of Court is granted for the filing
  foregoing dismissal.




                                             States District Judge
